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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

RICHARD LOWERY, on behalf of             §
himself and others similarly situated,   §
                                         §
       Plaintiff,                        §
                                         §
v.                                       §
                                         §
TEXAS A&M UNIVERSITY; M.                 §
KATHERINE BANKS, in her official         §
capacity as President of Texas A&M       §
University; ALAN SAMS, in his official §
                                           Civil Action No. 4:22-cv-3091
capacity as Interim Provost and Vice     §
President for Academic Affairs for Texas §
A&M University; ANNIE S.                 §
MCGOWAN, in her official capacity as §
Vice President and Associate Provost for §
Diversity at Texas A&M University; and §
N.K. ANAND, in his official capacity as §
Vice President for Faculty Affairs at    §
Texas A&M University,                    §
                                         §
       Defendants.                       §

   DEFENDANTS’ REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO
        DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT

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                                     INTRODUCTION

        Despite confronting a factual challenge to federal jurisdiction, Plaintiff presents no

new material facts supporting his standing, as a deliberate non-applicant, to press claims

of hypothetical employment discrimination at TAMU, let alone showing any hardship from

deferring those unripe claims. Rather, Plaintiff’s declaration confirms he has no concrete

intention to apply imminently to TAMU, and his reasons for refusing that simple step are

a pretense to manufacture standing. Further, the ACES Plus program central to Plaintiff’s

complaint is race- and gender-neutral, and the one school where Plaintiff professes

interest—Mays Business School (“Mays”)—has never participated in it. And Plaintiff’s

other allegations evince no actual, ongoing discrimination at Mays, much less at TAMU at

large. Article III demands more.

        Plaintiff fares no better on the merits. Each claim is either groundless or foreclosed

by Fifth Circuit precedent. Tellingly, Plaintiff cites no case allowing claims like his—claims

for prospective relief from employment discrimination brought by a non-applicant who

alleges no actual employment decision and no actual victim—to withstand Rule 12(b)(6).

                                       ARGUMENT

I.      Plaintiff Fails to Establish Subject-Matter Jurisdiction

        Under Rule 12(b)(1), Plaintiff must prove federal jurisdiction by a preponderance of

the evidence. Superior MRI Servs. v. Alliance Healthcare Servs., 778 F.3d 502, 504 (5th Cir.

2015). Plaintiff attempts to carry his burden through a declaration affirming paragraphs 34–

44 of his complaint, restating those allegations, and purporting to explain his disparate

treatment of Florida and TAMU and clarify his relationship with UT. See Lowery Decl. ¶¶ 3–


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20 (Dkt. 25-1). Against the full record, these “facts” fail to prove Plaintiff’s standing to press

each of his claims and to obtain his desired sweeping relief.

       At the outset, Plaintiff’s declaration supplies no proof of any injury. The restated

allegations concern whether Plaintiff “stands ‘able and ready’ to apply” to TAMU. Id. ¶¶ 3–

15; FAC ¶¶ 34–44 (Dkt. 19). The remaining facts, by Plaintiff’s account, are directed at

“reaffirming his interest” in TAMU, Opp. 3 (Dkt. 25), and proving it “genuine,” Lowery

Decl. ¶¶ 16–20. Nowhere does Plaintiff identify any “concrete, particularized, and actual or

imminent” harm caused to him—or anyone else—by the hiring initiatives he challenges in

the abstract. Earl v. Boeing Co., 53 F.4th 897, 901 (5th Cir. 2022).

       The legal sufficiency of Plaintiff’s sole claimed injury—the loss of an opportunity to

“compete on an even playing field,” Lowery Decl. ¶ 12—therefore depends on his theory

that an application is unnecessary because he is “able and ready” to apply and the selection

process is discriminatory, Opp. 1, 4–5. The record, however, bears out neither of these

premises. Regarding “able and ready,” Plaintiff’s declaration indicates only that he is

“actively looking for employment opportunities,” is interested in TAMU, and has taken steps

to “generat[e] interest” from Mays and to “set up” a new college at TAMU. Lowery Decl.

¶¶ 4, 10, 13–14, 18. To the extent these facts bear at all on Plaintiff’s immediate readiness

to join TAMU, they are outweighed by evidence that Plaintiff has no concrete intent to apply

in the near future, has purposefully avoided doing so to concoct standing, and has identified

no open position at Mays for which he is eligible but cannot fairly compete.

       It is undisputed, for example, that Plaintiff applied for a position at Florida

“notwithstanding its current professions of commitment to diversity.” Id. ¶ 17. His


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explanation—that he “expect[s]” Florida to “soon get rid of DEI” and he applied to a college

“set up to be free of DEI,” id.—ignores that similar measures have been proposed in Texas.

It also misses the point. Plaintiff’s application to Florida, a similarly situated university,

reveals that he faces no real barrier to applying to TAMU, and any claim that he “would have

already applied” lacks credibility. Indeed, Plaintiff still has not applied to TAMU, even after

the university released a clarifying memorandum on ACES Plus, Dkt. 22-2, and TAMU’s

Chancellor announced guidance standardizing faculty applications to eliminate diversity

statements, Anand Decl. Ex. 1—developments mooting key aspects of Plaintiff’s claims.

       Likewise, it is undisputed that Plaintiff is suing UT to prevent it from “fir[ing]” him.

Lowery Decl. ¶ 19. In that lawsuit, which requests only prospective relief, Plaintiff seeks

to enjoin UT from “reducing his pay” or “job responsibilities,” and he has filed declarations

affirming his commitment to UT’s Salem Center and showing that his annual appointment

was renewed on September 19, 2022—nine days after he filed this lawsuit. Dkt. 22-5 at

24–25; Crow 2d Decl. Ex. 10 ¶¶ 6, 61–62, Ex. 11 ¶ 12. These are not the actions of one

who stands “‘able and ready’ to apply for a vacancy in the reasonably imminent future.”

Carney v. Adams, 141 S. Ct. 493, 501–02 (2020).

       Plaintiff’s declaration supplies additional evidence of his “some day intentions” and

“desire to vindicate his view of the law.” Id. He ties his interest in TAMU to another remote

contingency—a potential new college from which he “could hold a joint appointment”—

and, three paragraphs later, describes TAMU as “awful.” Lowery Decl. ¶¶ 18, 21.

       Regarding discrimination, the specific initiatives that Plaintiff challenges evince no

actual, ongoing discrimination in hiring—let alone any affecting Plaintiff, who “wishes to


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obtain an appointment” only from Mays, Opp. 5–6. ACES Plus is race- and gender-neutral,

has yielded no hires, and is not administered at Mays. Dkt. 22-2; Anand Decl. ¶ 5. The

“reserved” hiring line at Mays was described in vague and contingent terms (“potentially”

a new position of unspecified tenure status), Dkt. 19-2, and does not exist, Anand Decl.

¶ 7. And ACES Fellows, like ACES Plus, is not administered at Mays and is further limited

to “early career PhDs.” Dkt. 22-4; Anand Decl. ¶ 4. Although Plaintiff claims “a university-

wide problem,” Opp. 6, the only other pleaded facts concern past actions by Dr. Banks at

one of TAMU’s seventeen colleges and an advisory vote of TAMU’s Faculty Senate, Dkt.

22 at 5. These facts show no actual or imminent injury to Plaintiff, nor do they confer

standing to demand university-wide relief. See TransUnion LLC v. Ramirez, 141 S. Ct. 2190,

2208 (2021); cf. Albuquerque Indian Rights v. Lujan, 930 F.2d 49, 56 (D.C. Cir. 1991) (no

standing if “no realistic possibility” of receiving position after “illegality” corrected).

       Insofar as Plaintiff implies an application would be futile, see Opp. 5 (citing

Teamsters v. United States, 431 U.S. 324 (1977)), that narrow exception is unavailing.

Such a claim “usually requires a showing” that the applicant “was deterred by a known and

consistently enforced policy of discrimination.” Shackelford v. Deloitte & Touche, LLP,

190 F.3d 398, 406 (5th Cir. 1999). “[S]peculative” evidence will not suffice. Id. But that is

all Plaintiff musters—despite alleging that TAMU “has been systematically discriminating

and continues to systematically discriminate” against white and Asian men, FAC ¶ 22,

Plaintiff cannot identify a single such candidate who applied to join Mays (or any TAMU

college) and was discriminatorily rejected. In fact, since July 2022, Mays has posted eight

tenured or tenure-track faculty openings and made six hires—two white men, one Asian


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man, and three Asian women. Anand Decl. ¶ 8. Against this backdrop, and with no

countervailing facts, Plaintiff cannot satisfy Rule 12(b)(1) simply by asking the Court to

assume his application would be a “futile gesture,” Teamsters, 431 U.S. at 366. Rather, all

evidence suggests that Plaintiff will not apply to TAMU because he knows his application

will be fairly considered under TAMU’s current hiring policies. Article III is not so easily

manipulated. Cf. Clapper v. Amnesty Int’l USA, 568 U.S. 398, 416 (2013) (plaintiffs

“cannot manufacture standing” by “inflicting harm on themselves” based on “fears of

hypothetical future harm that is not certainly impending”).

       Clapper captures Plaintiff’s ripeness predicament as well. Hardship is required even

when a case presents “purely legal questions,” Lopez v. City of Houston, 617 F.3d 336, 342

(5th Cir. 2010), and the only hardship Plaintiff alleges—again, no proof—is his own refusal

to apply to TAMU based on a “fear[] of hypothetical future” discrimination, Clapper, 568

U.S. at 416.

       Lastly, Plaintiff misstates his Ex parte Young burden. See Opp. 8. Defendants must

“both possess ‘the authority to enforce the challenged law’ and have a ‘sufficient

connection [to] the enforcement of the challenged act.’” Haverkamp v. Linthicum, 6 F.4th

662, 670 (5th Cir. 2021). The “analysis is ‘provision-by-provision.’” Tex. All. for Retired

Ams. v. Scott, 28 F.4th 669, 672 (5th Cir. 2022). The main tie linking Defendants to the

alleged federal violations—and the only one touching Drs. McGowan and Anand—is the

announcement of ACES Plus. See Opp. 8–9. That program violates no law, and Plaintiff

lacks standing to challenge it. Plaintiff’s remaining allegations concern past events or are




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framed broadly enough to preclude sovereign immunity for any university administrator in

employment litigation. See Dkt. 22 at 13; cf. Opp. 10 (claiming an “inherent” relationship).

II.      Plaintiff Fails to State a Claim

         First, Plaintiff recognizes that Fifth Circuit law forecloses a private Title VI claim

for employment discrimination absent proof that defendants are misusing federal funds

whose “primary objective” is “to provide employment.” Nat’l Ass’n of Gov’t Emps. v. City

Pub. Serv. Bd. of San Antonio, 40 F.3d 698, 706 n.9 (5th Cir. 1994); see Opp. 12. This was

no mere dictum: The Court recited the elements of a private Title VI action to support its

holding that the plaintiffs had abandoned any such claim, NAGE, 40 F.3d at 705–06, and

the defendant–appellee briefed the topic, Supplemental Brief of Appellee at 3, 8, NAGE,

40 F.3d 698, 1993 WL 13099412. This Court is bound by the Fifth Circuit’s construction

of Title VI, notwithstanding Plaintiff’s preferred reading of the statute. This Circuit,

moreover, is no outlier. See Reynolds v. Sch. Dist. No. 1, 69 F.3d 1523, 1531 & n.8 (10th

Cir. 1995) (citing cases); Dkt. 22 at 14–15.

         Second, Plaintiff admits he invokes Title IX because he lacks recourse to Title VII.

See Opp. 14–15. But that is precisely why Title VII preemption exists—so a plaintiff alleging

sex discrimination in public employment, for which Title VII provides a remedy, cannot

circumvent that comprehensive scheme by proceeding under Title IX. See Lakoski v. James,

66 F.3d 751, 755–58 (5th Cir. 1995). It is unsurprising, then, that courts have extended

Lakoski to injunctive claims, Dkt. 22 at 16, and Plaintiff cites no precedent embracing his

loophole theory. Further, Plaintiff still identifies no specific facts demonstrating ongoing

sex discrimination at Mays (or TAMU broadly), insisting only that his allegations “must


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be assumed true.” Opp. 14. His reliance on Iqbal is counterproductive, given the Court’s

directive that Rule 8 embodies a plausibility standard that rejects “conclusions” and “naked

assertion[s].” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

       Third, Plaintiff’s Section 1981 claim turns on the premise that he “has adequately

alleged a ‘prospective contract’” with TAMU by showing he “stands ‘able and ready’ to

apply.” Opp. 15. Again, Plaintiff’s allegations are deficient. Supra pp. 1–5. And his cases

are distinguishable. See Comcast Corp. v. Nat’l Ass’n of African-Am. Owned Media, 140

S. Ct. 1009, 1013 (2020) (failed negotiations); Gen. Bldg. Contractors Ass’n v.

Pennsylvania, 458 U.S. 375, 378–80 (1982) (union relations); cf. Dkt. 22 at 17.

       Finally, Plaintiff’s Equal Protection claim also falls with his “able and ready”

allegations. His only rejoinder—that the Title VII framework is “irrelevant” because he “is

not seeking relief for a particular discriminatory action directed at him,” Opp. 16—is a non

sequitur that underscores his lack of harm. At minimum, Plaintiff must plead facts showing

purposeful discrimination resulting in an actual or imminent violation of his rights. See,

e.g., Chu v. Miss. State Univ., 901 F. Supp. 2d 761, 779–80 (N.D. Miss. 2012).

                                          CONCLUSION

       The complaint should be dismissed. If, however, the Court believes Plaintiff’s

declaration meets his Rule 12(b)(1) burden, Defendants respectfully request an evidentiary

hearing to test Plaintiff’s assertions.




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Dated: March 27, 2023                     Respectfully submitted,


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                          CERTIFICATE OF WORD COUNT

       Pursuant to Rule 18(c) of this Court’s Procedures, I hereby certify that, according

to Microsoft Word, Defendants’ Reply in Support of Defendants’ Motion to Dismiss

Plaintiff’s First Amended Complaint contains 2,000 words, exclusive of the case caption,

table of contents, table of authorities, signature block, and certificates.

                                                 /s/ M. Carter Crow
                                                 M. Carter Crow
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                           CERTIFICATE OF SERVICE

      Pursuant to Local Rule 5.3, I hereby certify that Defendants’ Reply in Support of

Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint has been served on

all parties today, March 27, 2023, via CM/ECF.

                                            /s/ M. Carter Crow
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